                           United States District Court
                         Western District of North Carolina
                                Charlotte Division

             Bruce Rhyne               )              JUDGMENT IN CASE
             Janice Rhyne,             )
                                       )
              Plaintiff(s),            )             3:18-cv-00197-RJC-DSC
                                       )
                  vs.                  )
                                       )
    United States Steel Corporation,   )
             Defendant(s).             )

 DECISION BY COURT. This action having come before the Court by Jury Trial and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Jury Verdict entered on September 24, 2020.

                                                September 24, 2020




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